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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

ENCHANTEDMOB, INC.,
                                                          Case No. 22-cv-02095
                  Plaintiff,
                                                          Judge Jorge L. Alonso
v.

WEIMANNI, et al.,                                         Magistrate Judge Beth W. Jantz

                  Defendants.


                                  DEFAULT JUDGMENT ORDER

          This action having been commenced by Plaintiff EnchantedMob, Inc. (“Plaintiff”) against

the fully interactive e-commerce stores 1 operating under the seller aliases identified on Schedule
                                            0F




A attached hereto (collectively, the “Seller Aliases”), and Plaintiff having moved for entry of

Default and Default Judgment against the Seller Aliases, with the exception of defendants

Shanghai Huasha Business Consultancy Co., ltd., and Venkuber, (collectively, the “Defaulting

Defendants”);

           This Court having entered a preliminary injunction; Plaintiff having properly completed

service of process on Defaulting Defendants, the combination of providing notice via electronic

publication or e-mail, along with any notice that Defaulting Defendants received from domain

name registrars and payment processors, being notice reasonably calculated under all

circumstances to apprise Defaulting Defendants of the pendency of the action and affording them

the opportunity to answer and present their objections; and




1
    The e-commerce store urls are listed on Schedule A hereto under the Online Marketplaces.
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        None of the Defaulting Defendants having answered or appeared in any way, and the

time for answering having expired, so that the allegations of the Complaint are uncontroverted

and are deemed admitted;

        The Court finds that it has personal jurisdiction over the Defaulting Defendants because

Defaulting Defendants directly target their business activities toward consumers in the United

States, including Illinois. Specifically, Plaintiff has provided a basis to conclude that Defaulting

Defendants have targeted sales to Illinois residents by setting up and operating e-commerce

stores that target United States consumers using one or more Seller Aliases, offer shipping to the

United States, including Illinois, accept payment in U.S. dollars, and have sold products bearing

infringing and unauthorized copies of the Poppy Playtime Copyrighted Designs (U.S. Copyright

Registration Nos. VA0002288105, VA0002293330, VA0002294398, and VA0002295039) to

residents of Illinois (such products collectively referred to herein as the “Unauthorized Poppy

Playtime Products”).

        This Court further finds that Defaulting Defendants are liable for willful federal copyright

infringement (17 U.S.C. §§ 106 and 501, et seq.).

        Accordingly, the Court orders that Plaintiff’s Motion for Entry of Default and Default

Judgment is GRANTED as follows, that Defaulting Defendants are deemed in default and that

this Final Judgment is entered against Defaulting Defendants.

        The Court further orders that:

1.      Defaulting Defendants, their officers, agents, servants, employees, attorneys, and all

        persons acting for, with, by, through, under, or in active concert with them be

        permanently enjoined and restrained from:




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        a. reproducing, distributing copies of, making derivative works of, or publicly

           displaying the Poppy Playtime Copyrighted Designs in any manner without the

           express authorization of Plaintiff;

        b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           Poppy Playtime product or any other product produced by Plaintiff, that is not

           Plaintiff’s or not produced under the authorization, control or supervision of Plaintiff

           and approved by Plaintiff for sale under the Poppy Playtime Copyrighted Designs;

        c. committing any acts calculated to cause consumers to believe that Defendants’

           products are those sold under the authorization, control or supervision of Plaintiff, or

           are sponsored by, approved by, or otherwise connected with Plaintiff; and

        d. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

           moving, storing, distributing, or returning products or inventory not manufactured by

           or for Plaintiff, nor authorized by Plaintiff to be sold or offered for sale, and which

           bear the Poppy Playtime Copyrighted Designs.

2.      Upon Plaintiff’s request, any third party with actual notice of this Order who is providing

        services for any of the Defaulting Defendants, or in connection with any of Defaulting

        Defendants’ Online Marketplaces including, without limitation, any online marketplace

        platforms such as eBay Inc. (“eBay”), AliExpress, Alibaba Group Holding Ltd.

        (“Alibaba”), Amazon.com, Inc. (“Amazon”), DHgate, Walmart Inc. (“Walmart”), and

        ContextLogic Inc. d/b/a Wish.com (“Wish.com”) (collectively, the “Third Party

        Providers”) shall, within seven (7) calendar days of receipt of such notice, disable and

        cease displaying any advertisements used by or associated with Defaulting Defendants in




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        connection with the sale of infringing goods which bear the Poppy Playtime Copyrighted

        Designs.

3.      Pursuant to 17 U.S.C. § 504(c)(2), Plaintiff is awarded statutory damages from each of

        the Defaulting Defendants in the amount of one hundred thousand dollars ($100,000) for

        willful copyright infringement of the Poppy Playtime Copyrighted Designs.

4.      Any Third Party Providers holding funds for Defaulting Defendants, including PayPal,

        Alipay, Alibaba, Ant Financial, Wish.com, DHgate, Walmart, and Amazon Pay, shall,

        within seven (7) calendar days of receipt of this Order, permanently restrain and enjoin

        any financial accounts connected to Defaulting Defendants’ Seller Aliases or Online

        Marketplaces from transferring or disposing of any funds, up to the above identified

        statutory damages award, or other of Defaulting Defendants’ assets.

5.      All monies, up to the above identified statutory damages award, in Defaulting

        Defendants’ financial accounts, including monies held by Third Party Providers such as

        PayPal, eBay, Alipay, Alibaba, Ant Financial, Wish.com, DHgate, Walmart, and Amazon

        Pay, are hereby released to Plaintiff as partial payment of the above-identified damages,

        and Third Party Providers, including PayPal, Alipay, Alibaba, Ant Financial, Wish.com,

        DHgate, Walmart, and Amazon Pay, are ordered to release to Plaintiff the amounts from

        Defaulting Defendants’ financial accounts within fourteen (14) calendar days of receipt

        of this Order.

6.      Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

        Defendant, Plaintiff shall have the ongoing authority to commence supplemental

        proceedings under Federal Rule of Civil Procedure 69.




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7.      In the event that Plaintiff identifies any additional online marketplace accounts or

        financial accounts owned by Defaulting Defendants, Plaintiff may send notice of any

        supplemental proceeding to Defaulting Defendants by e-mail at the e-mail addresses

        identified in Exhibit 3 to the Declaration of Zach Belanger and any e-mail addresses

        provided for Defaulting Defendants by third parties.

8.      To obtain release of the bond previously posted in this action, Plaintiff’s counsel must

        file a motion for the return of the bond once the preliminary injunction no longer applies

        to any defendant.

This is a Default Judgment.

DATED: July 12, 2022

                                             ___________________________________
                                             Jorge L. Alonso
                                             United States District Judge




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                                       Schedule A

                             Defendant Online Marketplaces
No                             URL                                   Name / Seller Alias
      1   amazon.com/sp?seller=AFZ95VENYJRI8               WEIMANNI
      2   amazon.com/sp?seller=AG0ZENU3A69TN               costoe
      3   amazon.com/sp?seller=AGAOWHT2P4TF3               LLNMG
      4   amazon.com/sp?seller=AGD6TH80DWYL5               lichengquxinzilai baihuodian
                                                           kunmingbanpizedianzishangwuyouxianz
      5   amazon.com/sp?seller=AGEF8HW1FLKRK               erengongsi
      6   amazon.com/sp?seller=AGKRMOPKRRGIV               Creat ivity
      7   DISMISSED                                        DISMISSED
      8   amazon.com/sp?seller=AGZEYJJT41CF1               JOGHW
      9   amazon.com/sp?seller=AHRTP2THTEHF5               Fnayol
     10   amazon.com/sp?seller=AHU9QS04Y5TUY               heilinzhen1
     11   amazon.com/sp?seller=AIAP7GBN5XXUT               drzgxdfvjnkjdzgvkjbdvhjbxdgkjvbhj
     12   amazon.com/sp?seller=AIF881U1EFRXQ               Beatseller
     13
     14
     15   amazon.com/sp?seller=AIXEALWNWL6OW               RENHONGI
     16   amazon.com/sp?seller=AJ24HWD0WMXDY               JUNXIN Shoe Decoration
     17   amazon.com/sp?seller=AJ2D0GOHRC11P               MAXLOER
     18   amazon.com/sp?seller=AJDXSANKA02P8               KANGLL
     19   amazon.com/sp?seller=AJI68B2YJA9Y1               G0080XDLUCKY
     20   amazon.com/sp?seller=AJO4G52GJCMV1               Christmas Room2022
     21   amazon.com/sp?seller=AK5INE3Z56WCR               Pro-Street
     22   DISMISSED                                        DISMISSED
     23   amazon.com/sp?seller=AK7LMVEFGC6XT               -xiaojiejiariyongpin
     24   DISMISSED                                        DISMISSED
     25   amazon.com/sp?seller=AKOXIYF4VGRYU               Droeong Official
     26   amazon.com/sp?seller=AKR3O49VJ7FNP               HaiKouYeYiKeJi
     27   DISMISSED                                        DISMISSED
     28   amazon.com/sp?seller=ALH2MN56CQS6J               Goodies to share
     29   amazon.com/sp?seller=ALQW43MORVG8E               newhui
     30   amazon.com/sp?seller=ALY48XK3G4BZR               yushenzhou
     31   amazon.com/sp?seller=AMEZ2T8YE0MZ                ameaningfulstore
     32   amazon.com/sp?seller=AMN7K3BS30SYN               LZM-US
     33   amazon.com/sp?seller=AMPF1ZBMLH5FH               AMPF1ZBMLH5FH

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34   DISMISSED                                 DISMISSED
35   amazon.com/sp?seller=AOZ9GRT03DN2U        XIN HE KANG
36   amazon.com/sp?seller=AP63GMKEY65B         SkyFul-US
37   amazon.com/sp?seller=APF9QL7ZPTA53        zhengzhougehang
38   DISMISSED                                 DISMISSED
39   DISMISSED                                 DISMISSED
40   amazon.com/sp?seller=AQ7BF3DWC5DUM        XiaohuangDepartmentStore
41   DISMISSED                                 DISMISSED
42   amazon.com/sp?seller=AQYTMT8L5ALSI        Hefei kongmou Trading Co., Lod
43   amazon.com/sp?seller=AR4V63VAWWQYE        new broad
44   amazon.com/sp?seller=ARB8OCTGWLGEF        yangbaiying
45   amazon.com/sp?seller=ARF6M4G9XL0LW        Hot Basir
46   DISMISSED                                 DISMISSED
47   amazon.com/sp?seller=AT3LQI84RJ7RK        yinge258
48   amazon.com/sp?seller=AT7847Q8MSYNP        longnose
49   amazon.com/sp?seller=ATMLIODIK4R7F        Hansstudio
50   DISMISSED                                 DISMISSED
51   amazon.com/sp?seller=AU2W1MDWBLBQZ        wawastroe
52   amazon.com/sp?seller=AUHCHH9VCZWI1        Changwei
53   amazon.com/sp?seller=AUI4X6BSHZ1H1        WFHSDZ
54   amazon.com/sp?seller=AUL4SGGUSMZS5        xiangdongqujunjunbaihuodian
55   amazon.com/sp?seller=AUY2JBLT4OWBP        xinBMPL
56   amazon.com/sp?seller=AVCEMPOFCIBO         wrigcddy
57   DISMISSED                                 DISMISSED
58   amazon.com/sp?seller=AW2JHACP87KCI        sfgdfddgh16
59   amazon.com/sp?seller=AWF98PUISBKTU        lengtemaoyi
60   amazon.com/sp?seller=AWM6V0GIBVKWB        RAMARA
61   amazon.com/sp?seller=AX12DPAH2KGTI        WarmWind Gallery
62   amazon.com/sp?seller=AX5MKAUTFEPQ1        BWOWH
63   amazon.com/sp?seller=AX86PBVOLF54J        Flyverson
64   amazon.com/sp?seller=AXP8G85U3U1S2        ZhuPhongkj
65   amazon.com/sp?seller=AXTRK0M5K7V84        afafsafqwqeq
66   amazon.com/sp?seller=AXVECBZKNJ6VH        thakpayssen
67   amazon.com/sp?seller=AYGGXWWBH4JAZ        Duan Liting
68   amazon.com/sp?seller=AYN8BQC1FXLYM        What's Happy Planet
69   DISMISSED                                 DISMISSED
70   amazon.com/sp?seller=AZ6K5JXB8ZAIT        GGUKLL
71   DISMISSED                                 DISMISSED
72   aliexpress.com/store/1100084149           Shop1100084149 Store
73   aliexpress.com/store/1100105021           AA Very Good Store
74   aliexpress.com/store/1100176516           Shop1100176516 Store


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 75   aliexpress.com/store/1100182135           Evening breeze Store
 76   aliexpress.com/store/1100188002           PollyDragon Store
 77   aliexpress.com/store/1100227548           Shop1100227548 Store
 78   aliexpress.com/store/1100227642           Shop1100227642 Store
 79   aliexpress.com/store/1100237110           Shop1100237110 Store
 80   aliexpress.com/store/1264023              Shop1264023 Store
 81   aliexpress.com/store/3363030              AAhappy Store
 82   aliexpress.com/store/342746               Shop342746 Store
 83   aliexpress.com/store/4466014              Roblox Store
 84   aliexpress.com/store/5063121              Dropshipping Montessori Store
 85   aliexpress.com/store/5524046              Squeeze Toy Store
 86   aliexpress.com/store/5585173              Naughty Girl Store
 87   aliexpress.com/store/5589073              Shop5589073 Store
 88   aliexpress.com/store/5599177              Shenim Store
 89   aliexpress.com/store/910341092            POP Fidget Toy Store Store
 90   aliexpress.com/store/911121020            Oriental Apricot Toy Store
 91   aliexpress.com/store/911254116            XZCAI Drop Shipping Exclusive Store
 92   aliexpress.com/store/911605158            Fidget Toy Factory Store
 93   aliexpress.com/store/911758161            HGX-Dropshipping Store
 94   aliexpress.com/store/911778125            Ali Toy Dropshipping Store
 95   aliexpress.com/store/911805165            WJYJR Store
 96   aliexpress.com/store/912035114            DropShipping Toys Store
 97   aliexpress.com/store/912100026            HY YunDong Store
 98   aliexpress.com/store/912179048            Jun Peng 1985 Store
 99   aliexpress.com/store/912245069            Yoodragons Toy Store
100   DISMISSED                                 DISMISSED
101   DISMISSED                                 DISMISSED
102   aliexpress.com/store/912624434            Shop912624434 Store
103   aliexpress.com/store/912626185            Shop912626185 Store
104   DISMISSED                                 DISMISSED
105   aliexpress.com/store/912643150            Quality Dropshipping Store
106   DISMISSED                                 DISMISSED
107   aliexpress.com/store/912683033            Zhongze Store
108   aliexpress.com/store/912684659            PlushGameToy Store
109   DISMISSED                                 DISMISSED
110   ebay.com/usr/afdvgsd                      afdvgsd
111   DISMISSED                                 DISMISSED
112   ebay.com/usr/automax-obd                  automax-obd
113   ebay.com/usr/beat_official_store          beat_official_store
114   ebay.com/usr/bhrfgnfg                     bhrfgnfg
115   DISMISSED                                 DISMISSED


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116   ebay.com/usr/brave-win                      brave-win
117   ebay.com/usr/bsd-foam                       bsd-foam
118   ebay.com/usr/ciay3840                       ciay3840
119   DISMISSED                                   DISMISSED
120   ebay.com/usr/duanchan-83                    duanchan-83
121   DISMISSED                                   DISMISSED
122   DISMISSED                                   DISMISSED
123   ebay.com/usr/free0527                       free0527
124   ebay.com/usr/frsbigseller                   frsbigseller
125   ebay.com/usr/gongqi22                       gongqi22
126   ebay.com/usr/haikouleipengzhixins0          haikouleipengzhixins0
127   DISMISSED                                   DISMISSED
128   DISMISSED                                   DISMISSED
129   ebay.com/usr/henzostores                    henzostores
130   ebay.com/usr/henzostorie                    henzostorie
131   ebay.com/usr/herihere                       herihere
132   ebay.com/usr/hkbjy_5                        hkbjy_5
133   ebay.com/usr/hoho-wu                        hoho-wu
134   ebay.com/usr/huayutangmaoyiyouxiangongsi    huayutangmaoyiyouxiangongsi
135   ebay.com/usr/idobest20212018                idobest20212018
136   DISMISSED                                   DISMISSED
137   DISMISSED                                   DISMISSED
138   ebay.com/usr/kmh_store                      kmh_store
139   DISMISSED                                   DISMISSED
140   DISMISSED                                   DISMISSED
141   ebay.com/usr/lipei2058                      lipei2058
142   DISMISSED                                   DISMISSED
143   DISMISSED                                   DISMISSED
144   DISMISSED                                   DISMISSED
145   ebay.com/usr/mengdaoshangmao                mengdaoshangmao
146   ebay.com/usr/msig2133                       msig2133
147   DISMISSED                                   DISMISSED
148   ebay.com/usr/ping.g                         ping.g

149   ebay.com/usr/pouchuoshangmaoyouxiangongsi   pouchuoshangmaoyouxiangongsi
150   ebay.com/usr/qingtianshujingfu              qingtianshujingfu
151   DISMISSED                                   DISMISSED
152   ebay.com/usr/safsvsvvs                      safsvsvvs
153   DISMISSED                                   DISMISSED
154   ebay.com/usr/shuqingshangmao                shuqingshangmao
155   ebay.com/usr/sportedsnakess                 sportedsnakess


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156   ebay.com/usr/violentbattery                violentbattery
157   ebay.com/usr/wenday-boday                  wenday-boday
158   ebay.com/usr/wengan_52                     wengan_52
159   ebay.com/usr/yangyang0523                  yangyang0523
160   DISMISSED                                  DISMISSED
161   DISMISSED                                  DISMISSED

162 EXCEPTED                                     EXCEPTED
163 walmart.com/seller/101095528                 Lovehome Electronics LLC.
                                                 dongguanshichunshuwangluokejiyouxia
164   walmart.com/seller/101097172               ngongsi
165   walmart.com/seller/101115753               Duke Haydn.US
166   DISMISSED                                  DISMISSED
167   EXCEPTED                                   EXCEPTED

168 wish.com/merchant/55881b8b55f4d73f8b1c2578   Sunshine E-commerce Co., Ltd

169 wish.com/merchant/577a35d57f1b50747a864976   yingyingclothing

170 wish.com/merchant/57cfdec180e2851f962544fc   TCC limit

171 wish.com/merchant/57e26000c2946a2d711f40ff   Geven$GOGOGO

172 wish.com/merchant/58b3cd0b1cd1a950e5ada648   djdj

173 wish.com/merchant/595a794f2ca73170e01c4d03   dianshangguodu

174 wish.com/merchant/5a2a090087c25b2a3ee06d1b   kaimonostore

175 wish.com/merchant/5d3d27d08388977dc80cff1c   Chentingting Store

176 DISMISSED                                    DISMISSED

177 wish.com/merchant/5d4c319e1d9a8e3b709a5e82   han xiang yang mr

178 wish.com/merchant/5d4c3804933fb153b9214788   hu ming mr

179 wish.com/merchant/5d4d51f58388976673e6b6a2   BigBait

180 wish.com/merchant/5d553d3ca7c37351dc4dd1d9   yangguang8store

181 wish.com/merchant/5d6336c13c7aaf3bb6a2c558   Sunfujinde

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182 DISMISSED                                      DISMISSED

183 wish.com/merchant/5e4e6b820c3e797a3cbfd044     haozongdian

184 wish.com/merchant/5e6a18f648635a2aa824c653     Churuya Online

185 wish.com/merchant/5e7c31e51aa7b93797266595     WopingluduinRz

186 wish.com/merchant/5e8f07d624067d9f36df43f7     PotunfeiyigP

187 wish.com/merchant/5e99686e371bc474a80c4225     jeremy courtneyo

188 wish.com/merchant/5e9bd6c2f5b57c324114245d     Beverly L Roberts

189 wish.com/merchant/5e9d3c472405fbcad3c4a851     Randall W Roundtree

190 wish.com/merchant/5ed877d50e44c052a906772d     jtwangchun

191 wish.com/merchant/5f3110b7a3f2d716141017fe     Yinghongfei

192 wish.com/merchant/5f4e1e05e7488c060fe0722e     Shuaikelingmeng

193 wish.com/merchant/5f5770b5de2080cbbd95d708     MAR FASHION

194 wish.com/merchant/5f6dea6f8dfe119d59f2f891     cyt42

195 wish.com/merchant/5f7b408ad359e0ce7069dfeb     KA-KAL

196 wish.com/merchant/5f7d23745dcc981759a06c4f     Geraea

197 wish.com/merchant/5f803ca1f3c0d5066971ab56     boulangerre

198 wish.com/merchant/5f83a4934392de0e744e877b     Kylek

199 wish.com/merchant/5fdadb8aaae4ca3cb3d4eeb2     mafeiyang4635

200   wish.com/merchant/601f933282d84d0049ce1bed   wsf777666
201   wish.com/merchant/605d6af3ab589c4ce1727432   yangwenhuan9527
202   wish.com/merchant/6061b5eadbd9720600f64f42   magickbaby
203   wish.com/merchant/60980dbe0e66bdb4e8a4b16f   5th varieties
204   wish.com/merchant/60b049cadb59e70bb664d264   Panda plush DIY

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205   wish.com/merchant/60b2677f809e8b7067357c87   CoolCube
206   wish.com/merchant/60c0688f610a4b0cc6c4f5fa   LYB offical Store
207   wish.com/merchant/60f059ba8557d0dee948e571   AWY ONDO VALLEY
208   wish.com/merchant/6108ef76d3f0ad2934eed9d7   qinziqi4265
209   wish.com/merchant/613669cb1ab33e44b66ab681   Maker Department store
210   wish.com/merchant/615281bd9d926eb617f55594   tengkangjuan2134
211   wish.com/merchant/61835640dc4eb222a8a28fbf   kihmuf wdoehstu
212   wish.com/merchant/6183c52ac8d485e58617dd1d   And pray that every day
213   wish.com/merchant/619dec916b4d699ccc6234f2   liupingping3102
214   wish.com/merchant/61b1cfde8ced6ac500357ffc   liangjunhui3465
215   wish.com/merchant/61b2fd1a67de4899657bcaaa   liyuzhao4184
216   wish.com/merchant/61f77237a016582c435d4566   yooyo toy




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